        Case 1:17-cv-00845-KK-SCY Document 33 Filed 04/19/18 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

JUANITA LOPEZ,

               Plaintiff,

v.                                                             Case No. 1:17-cv-00845-KK-SCY

STATE FARM MUTUAL AUTOMOBILE INSURANCE
COMPANY and YET-TO-BE-IDENTIFIED EMPLOYEES
AND/OR AGENTS of State Farm Mutual Automobile Insurance
Company,

               Defendants.

                            MOTION TO DISMISS WITH PREJUDICE

       COMES NOW Plaintiff, Juanita Lopez, by and through her counsel of record, and hereby

moves the Court for the entry of its Order dismissing her Complaint against Defendant State Farm

Mutual Automobile Insurance Company with prejudice. As grounds for this Motion, Plaintiff would

state to the Court that all disputes raised by Plaintiff against Defendant State Farm Mutual Automobile

Insurance Company have been settled to the satisfaction of all parties.

                                               Respectfully submitted:


                                                By: /s/ Merit Bennett - approved via email 4/19/18
                                                     Merit Bennett
                                                     The Bennett Law Group LLC
                                                     Attorney for Plaintiff
                                                     460 St. Michael’s Drive Suite 703
                                                     Santa Fe, NM 87505
                                                     Telephone: (505) 983-9834
          Case 1:17-cv-00845-KK-SCY Document 33 Filed 04/19/18 Page 2 of 2



                                            CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 19th day of April, 2018, a copy of the
foregoing was electronically filed through the CM/ECF system, which caused the following
participating CM/ECF counsel to be served with same by electronic means to:

          Todd A. Schwarz
          Miller Stratvert P.A.
          P.O. Box 25687
          Albuquerque, NM 87125-0687


/s/ Merit Bennett - approved via email 4/19/18
Merit Bennett



\\Abq-tamarack\ProData\000065-049520\Pleadings\3414339.docx
